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                                                                                            FILED
                         IN THE UNITED STATES DISTRICT COURT                             DEL   1   8 2019
                          FOR THE WESTERN DISTRICT OF TEXAS                         CLERX U.S. D1STRKT CLERK
                               MIDLAND-ODESSA DIVISION                             WESTERN DS      T   TEXAS
                                                                                    BY____________________

 UNITED STATES OF AMERICA,                           CRIMINAL NO. MO-19-
                     Plaintiff,                                                         1   9 CR               (1
 V.                                                  SENTENCING ENHANCEMENT

                                                     INFORMATION

 JOHN GENE MITCHELL                                 [Vio: 21 U.S.C. § 841(b)(1)(B) &
                Defendant.                          21 U.S.C. § 851 Enhancement
                                                    Information, Prior Serious Drug
                                                    Felony Convictioni

THE UNITED STATES ATTORNEY CHARGES:

          Before the Defendant, JOHN GENE MITCHELL, committed the offense charged in this

case, the Defendant had been convicted of Conspiracy to Distribute 50 grams and more of

Methamphetamine, and Attempt to Possess with Intent to Distribute 500 grams and more of a

Mixture and Substance containing a detectable amount of Methamphetamine on or about January

12, 2006, in the District   of New Mexico in 2:04-CR-01313-013RB, a serious drug felony, for

which the Defendant served a term of imprisonment of more than 12 months, and for which the

Defendant's release from any term of imprisonment was within 15 years of the commencement of

the instant offense. As a result of that conviction, the Defendant, JOHN GENE MITCHELL, is

subject to increased punishment under Title 21, United States Code, Section 841(b)(1)(B).

          Due to the Defendant's prior serious drug felony, this statute provides for a minimum term

of imprisonment of ten (10) years, for a maximum term of life imprisonment, for a term of

supervised release of at least eight (8) years, up to a lifetime supervised release, and for a fine of

$8,000,000, and that, notwithstanding any other provision of law, the Court shall not suspend the

sentence of, or grant a probationary sentence to Defendant, nor shall Defendant be eligible for

parole.
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                                Respectfully submitted,


                                UNITED STATES ATTORNEY




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